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            EXHIBIT 9
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Attorneys for Plaintiffs
Johnson & Johnson and Cordis Corporation

                                                         SUPERIOR COURT OF NEW JERSEY
JOHNSON & JOHNSON and CORDIS                             CHANCERY DIVISION
CORPORATION,                                             MIDDLESEX COUNTY
                                                         DOCKET NO.

                                           Plaintiffs,
                          vs.                                             CIVIL ACTION

STENTYS, INC. and JIN S. PARK,                                   VERIFIED COMPLAINT

                                        Defendants.

       Plaintiffs Johnson & Johnson ("J&J), a corporation organized under the laws of the State

of New Jersey, having its principal place of business at One Johnson & Johnson Plaza, New

Brunswick, New Jersey 08933 and Cordis Corporation ("Cordis"), a corporation organized under

the laws of the State of Florida, having its principle place of business at 7 Powderhorn Drive,

Warren, New Jersey, by way of Verified Complaint against defendants, say:


                                        THE PARTIES


       1.        Plaintiff J&J is the parent company of subsidiaries engaged in the business of

developing, manufacturing and marketing a wide variety of health care products, and providing

related services, for the consumer, pharmaceutical and professional markets. J&J's subsidiaries

and operating companies market their products to customers located throughout the United States

and the world.




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        2.     Plaintiff Cordis is a subsidiary of J&J and is one of the world's leading developers

and manufacturers of interventional vascular technology and products for interventional

medicine,    minimally        mvastve   computer-based      tmagmg,     and     electrophysiology.

Electrophysiology involves the study of the electrical properties of biological cells and tissues

Cordis' products include, but are not limited to, coronary and other stents used to treat coronary

vascular and endovascular disease. Cordis' products are complex making it very difficult to

precisely reverse engineer.

       3.      Defendant Stentys, Inc. is a subsidiary of a French Company, Stentys, S.A.S.

Stentys S.A.S. and Stentys, Inc. will be collectively referred to as Stentys. Stentys is registered

to do business in New Jersey.       Stentys is a direct competitor of plaintiffs in developing,

manufacturing and marketing coronary stents used to treat coronary vascular disease.

       4.      Defendant Jin S. Park ("Park") is a resident of New Jersey residing at 300

Parsippany Road, Parsippany, New Jersey 07054. For seven plus years, Park was employed by

Cordis and, after several promotions, became a key Staff Product Development Engineer

working in Warren, New Jersey. During the course of his employment, Park received prestigious

awards and played a critical role in the development of many of Cordis' trade secrets and other

confidential information related to stents. As a condition of his employment, Park executed an

Employee Secrecy, Non-Competition and Non-SoliCitation Agreement (the "Agreement"). ·in or

about mid June 2008, Park tendered his resignation from Cordis and informed Cordis that he

accepted employment with Stentys. Shortly thereafter, plaintiffs informed Park and Stentys that

Park's anticipated employment with Stentys would violate the Agreement. Thereafter, the parties

attempted to amicably resolve their disputes but were unsuccessful. Since Park is highly valued,

Cordis offered to re-employ him and continues to do so.



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                             CORDIS AND ITS BUSINESS UNITS


        5.     For more than 40 years, Cordis has pioneered less invasive treatments for vascular

disease by developing medical devices for interventional vascular medicine, minimally invasive

computer-based imaging and electrophysiology. For example, among many other things, Cordis

developed the first full line of Pre-Shaped Judkins catheters in 1966, the first percutaneous

transluminal coronary angioplasty ("PTCA") balloon that utilized nylon balloon technology in

1990, and the first approved drug-eluting stent in 2003.

        6.     Cordis has four business units: (1) Cordis Cardiology - a worldwide leader in

developing and manufacturing interventional vascular technology such as coronary stents and

catheters for the treatment of coronary vascular disease; (2) Cordis Endovascular- a recognized

leader in developing stents, catheters and vena cava filters for the treatment of peripheral

vascular disease (i.e., vascular disease existing outside of the heart and brain); (3) Cordis

Neurovascular - a leader in developing treatment solutions for neurovascular disease and

strokes, including the development of the first neurointerventional microcatheter; and (4) Cordis

Biologics Delivery Systems- a leader in the emerging field of biologics delivery, which focuses

on optimizing the delivery of therapies to treat vascular disease.

        PLAINTIFFS AND SOME OF THEIR CONFIDENTIAL INFORMATION
                          AND TRADE SECRETS

        7.     The market for products that treat vascular disease, such as those offered by

Cordis, has become more and more competitive in recent years and plaintiffs have been

developing innovative responses to better position their products in these markets. The medical

device industry for the treatment of vascular disease is a multi-billion dollar, world-wide market.




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        8.       In recent years, Cordis has expended large amounts of time, resources and money

in researching, developing, and testing innovative, new products for treating coronary and

peripheral vascular disease. Due to its significant efforts, Cordis has innovative, new products in

its pipeline for the short term (1 year) and long term(+ 5 years). Such information about Cordis'

pipeline products and research and development efforts and plans are considered confidential,

proprietary and trade secret information (collectively "Confidential Information").

        9.       Cordis' research and development efforts have lead to significant breakthroughs

in treating vascular disease. For example, after an expensive and extensive trial and error

process, Cordis developed a product called CYPHER® Sirolimus-eluting Coronary Stent

("CYPHER® Stent"), which received FDA approval in 2003 and has been in the market ever

since. The CYPHER® Stent is used to treat the stenotic (i.e., narrowed) coronary arteries of the

heart found in coronary heart disease.

        10.      The coronary arteries of the heart narrow due to the build up of cholesterol laden

plaques.      The therapeutic procedure used to treat coronary heart disease is called percutaneous

transluminal coronary intervention ("PTCI" or "PCI"), commonly known as coronary

angioplasty. PCI is much less invasive than the alternative- coronary artery bypass surgery.

PCI is typically performed by an interventional cardiologist. Interventional cardiologist may

perform balloon angioplasty in connection with PCI, which involves the inflation of a balloon

within the coronary artery to crush the plaque buildup. Intervention cardiologist also typically

introduce a stent into the artery to prop it open to maintain blood flow.              In the past,

interventional cardiologist used bare metal coronary stents.     Since the arrival of such stents in

1995, re-occurrence of the narrowing of the arteries (i.e., re-stenosis) even with the stent in place

was a major limitation of interventional cardiology, occurring in as many as 30% of patients.



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        II.     To combat re-stenosis, Cordis, after expending a significant amount of time,

resources and money, developed the CYPHER® Stent, which was the first approved drug/device

(i.e., drug-eluting) stent. The CYPHER® Stent is a coronary stent for the treatment of coronary

heart disease that props open the diseased artery to maintain blood flow. The CYPHER® Stent

also releases certain drugs over time to help prevent re-stenosis.          The American Heart

Association named the CYPHER® Stent one of the top 10 medical advancements of2003. The

CYPHER® Stent has also been chosen by cardiologists worldwide to treat approximately three

million patients with coronary heart disease and it has the broadest clinical experience and

longest-term clinical follow-up than any drug-eluting stent. The CYPHER® Stent is used to

treat blockages located in straight arteries and blockages located in a junction between a main

artery and its side-branch artery (i.e., bifurcated arteries).

        I2.     Also, in developing new products, a significant amount of bench testing (i.e.,

testing outside of a living organism) occurs to confirm the intended performance and safety of

the new product.      For example, during the bench testing phase, most new medical device

products are put through fatigue testing to ensure that the structural integrity of the new product

remains in tact when placed under certain stresses. Bench testing occurs several times during the

development of a new product. After the intended performance and safety of the new product is

confirmed by bench testing, the new pr.oduct enters clinical trials and then testing for regulatory

approval.     Once regulatory approval is achieved, the product is manufactured.           At the

manufacturing stage, the product continues to be tested to verify and validate equipment,

techniques and processes.




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        13.    Testing methods and procedures are critical to the development of a new product.

With the appropriate testing methods and procedures, a company can efficiently make design

decisions or determine which new products are more practical. Overall, with the appropriate

testing methods and procedures, a company can make new products, or change existing products,

faster and better than a competitor.      As such, Cordis' testing methods and procedures are

considered highly Confidential Information.

        14.    The industry recognizes that such testing methods and procedures are highly

Confidential Information. For example, when a company seeks FDA approval for a drug or

medical device, it must file an application with the FDA. The application typically describes the

company's testing methods and procedures. The FDA then makes the application public, usually

by making the application accessible on its website. The FDA, however, does not make the

company's testing methods and procedures available to the public since such information is

considered Confidential Information.

        15.    Cordis has also expended large amounts of time, resources and money to provide

it with a competitive edge in the manufacturing of its products and other medical devices. In

particular, Cordis has developed Confidential Information regarding the equipment, material and

the manufacturing techniques and technologies it uses to manufacture its products. For example,

Cordis uses a material called Nitinol   to manufacture certain of its produCts.   Nitinol has shape

memory and super elasticity, which are two important characteristics for medical devices such as

stents. Most stents must travel through a delivery system (i.e., catheter) that is smaller than the

stent in order for the stent to be placed in the diseased artery. The stent, therefore, must be

crimped in size so that it can go though the catheter, and then must expand to its intended normal

size once it exists the catheter and is placed in the diseased artery. Nitinol allows this to occur.



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Although Nitinol is widely used in the industry, Cordis uses a highly confidential and secret

technique for processing Nitinol and incorporating Nitinol into its products so that its products

have the required shape memory and elasticity.

        16.       Plaintiffs take measures to protect its Confidential Information. All employees

have IDs and there is a sign-in procedure for visitors at all facilities. No one visits a facility

without an escort. All computers have secure access features and fue walls. Plaintiffs also have

security and confidentiality policies and agreements which they enforce.


                             PARKS' EMPLOYMENT AT CORDIS


        17.       Park, who has a degree in engineering, began his employment with Cordis in

March 2001 as a Senior Engineer. In August 2001, he was promoted to the position of Senior

Product Development Engineer. Then, in October 2002, he was promoted to the position of Staff

Product Development Engineer. As a condition of his employment, and because of his access to

Confidential Information, Park was required to sign the Agreement. A true and correct copy of

the Agreement signed by Park is attached hereto as Exhibit A. The Agreement provides in

pertinent part:

       CONFIDENTIAL INFORMATION means information disclosed to me or known
       by me as a result of my employment by the COMPANY, not generally known to
       the trade or industry in which the COMPANY is engaged, about products,
       processes, technologies, machines, customers, clients, employees, services and
       strategies of the COMPANY, including but not limited to, inventions, research,
       development, manufacturing, purchasing, finance, computer software, computer
       hardware, automated systems, engineering, marketing, merchandising, selling,
       sales volumes or strategies, number and location of sales representatives, names
       and significance of the COMPANY's customers or clients or their employees or
       representatives, preferences, needs or requirements, purchasing histories, and
       other customer or client-specific information.




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CONFLICTING PRODUCT means any product, technology, process, machine,
invention or service of any person or organization other than the COMPANY in
existence or under development which resembles or competes with a product,
process, technology, machine, invention or service upon which I shall have
worked or about which I become knowledgeable as a result of employment with
the COMPANY and whose use or marketability could be enhanced by application
to it of CONFIDENTIAL INFORMATION which I shall have had access to
during my employment.

CONFLICTING ORGANIZATION means any person or organization which is
engaged in or about to become engaged in research on, consulting regarding, or
development, production, marketing, or selling of a CONFLICTING PRODUCT.

               *              *              *              *
5.      I recognize that CONFIDENTIAL INFORMATION is of great value to
the COMPANY, that the COMPANY has legitimate business interests in
protecting its CONFIDENTIAL INFORMATION, and that the disclosure to
anyone not authorized to receive such information, including a CONFLICTING
ORGANIZATION, will cause immediate irreparable injury to the COMPANY.
Unless I first secure the COMPANY's written consent, I will not disclose, use,
disseminate, lecture upon or publish CONFIDENTIAL INFORMATION. I
understand and agree that my obligations not to disclose, use, disseminate, lecture
upon or publish CONFIDENTIAL INFORMATION shall continue after
termination of my employment for any reason.

6.      During my employment with the COMPANY and for a period of eighteen
(18) months after termination of my employment with the COMPANY for any
reason, I will not render services, directly or indirectly, to any CONFLICTING
ORGANIZATION in the United States, or in any foreign country or territory in
which the services I may provide c.ould enhance the use or marketability of a
CONFLICTING PRODUCT by application of CONFIDENTIAL INFORMA-
TION which I shall have had access to during my employment, except that I may
accept employment with a CONFLICTING ORGANIZATION whose business is
diversified and which is, as to that part of its business in which I accept
employment, not a CONFLICTING ORGANIZATION, provided that the
COMPANY, prior to my accepting such employment, shall receive separate
written assurances satisfactory to the COMPANY from such CONFLICTING
ORGANIZATION and from me, that I will not render services directly or
indirectly, for an 18-month period, in connection with any CONFLICTING
PRODUCT. I also agree that during my employment with the COMPANY and
for a period of 18 months thereafter, I will not render services to any other
organization or person in a position in which I could use CONFIDENTIAL
INFORMATION to the detriment ofthe COMPANY.




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       7.       I recognize that the COMPANY's relations with its accounts, customers
       and clients represents an important business asset that results from the
       COMPANY's significant investment of its time and resources. I further
       recognize that by virtue of my employment by the COMPANY, I have gained or
       may gain relationships with the accounts, customers and clients of the
       COMPANY, and because of such relationships, I could cause the COMPANY
       great loss, damage, and immediate irreparable harm, if, during my employment by
       the COMPANY or subsequent to the termination of such employment for any
       reason, I should for myself or on behalf of any other person, entity, firm or
       corporation, sell, offer for sale, or solicit or assist in the sale of a product or
       service that could compete with a product or service being sold or developed by
       the COMPANY. I therefore agree that during my employment with the
       COMPANY and for eighteen (18) months after termination of such employment
       for any reason, I will not solicit any business from, sell to, or render any service
       to, or, directly or indirectly, help others to solicit business from or render service
       or sell to, any of the accounts, customers or clients with whom I have had contact
       during the last twelve (12) months of my employment with the COMPANY, for
       any purpose related to the sale of any such product or service. I also agree that for
       a period of twelve (12) months after termination of employment with the
       COMPANY for any reason, I will not solicit or hire on my own behalf, or on
       behalf of others, any COMPANY employee.

                      *               *              *               *
       13.     I understand and acknowledge that if I violate this Agreement or am about
       to violate this Agreement by disclosing or using information prohibited by
       paragraph 5 above, accepting employment or providing services prohibited .by
       paragraph 6 or 7 above, or failing to turn over property as required by paragraph
       12 above, the COMPANY shall have the right, and be entitled to, in addition to
       any other remedies it may have, injunctive relief; in other words, I understand and
       acknowledge that the COMPANY can bar me from disclosing or using such
       information, bar me from accepting such employment or rendering such services
       for the periods specified in paragraphs 6 and 7 above, and require that I turn over
       such property.

       18.    Paragraph 9 of the Agreement provides that Park's obligations under paragraphs 6

and 7 ofthat Agreement are contingent upon Cordis' payment to him of(i) the prorated monthly

compensation he had received from Cordis in the event that, because of the prohibitions

contained in paragraphs 6 and 7, he could not obtain employment consistent with his training and

education or (ii) the difference between his prorated monthly compensation received while

employed by Cordis and the similarly computed monthly compensation he receives from his



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post-Cordis employment if his post-Cordis employment provided less compensation as a result

of the prohibitions contained in paragraphs 6 and 7.

        19.       As the Staff Product Development Engineer, Park was responsible for research

and development across Cordis' business units, especially Cordis Cardiology and Cordis

Endovascular. During his employment with Cordis, Park received significant training from stent

design experts. Because of his long history in research and development and his training with

stent design experts, Park was regularly called upon to evaluate and review highly sensitive

Confidential Information relating to Cordis' current and pipeline products that treat vascular

disease, including stents, and Cordis' research and development efforts and plans. For example,

Park learned of and became knowledgeable about the following Confidential Information:

       •      strategic priorities and objectives for the short-term (1 to 2 years), mid-term (3 to 5
              years) and long-term(+ 5 years);
       •      pipeline products;
       •      product development plans and strategies for new products and how the company
              plans on changing current products;
       •      research and development information;
       •      product testing techniques;
       •      product components and designs;
       •      material specifications for all products;
       •      cost to manufacture products;
       •      manufacturing techniques and technologies;
       •      production processes;
       •      launch strategies for new products, including launch dates, packaging, product forms;
       •      management of supply chain;
       •      regulatory progress of products; and
       •      customer complaints and feedback concerning existing products and instruments.

       20.       Park was known for being super technical and in fact received the 2001 "Hoffman

Scientist award" for significant technical achievement. While at Cordis, he was significantly

involved in designing and developing new coronary and peripheral stents utilizing various

materials such as stainless steel, cobalt-chrome and Nitinol. For example, Park was the lead




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designer on a coronary stent project whereby he converted Cordis' coronary stents from stainless

steel to cobalt-chrome, which required Park to re-design the stents.

        21.    Park also assisted in designing an expandable stent for endovascular applications

and developing stent performance testing. In addition, Park was the lead designer for creating a

new stent to treat percutaneous abdominal aortic aneurisms ("AAA"). In doing so, Park created

a unique stent-graft attachment method for the treatment of AAA.

        22.    Park's responsibilities and duties also included taking Cordis' stents that were

designed for a blood vessel or artery in a specific part of the body and redesigning those stents

using Cordis' highly secretive testing methods and procedures so that they could be used on

blood vessels or arteries located in other parts of the body.

        23.    Park also gained considerable knowledge of Cordis' internally developed and

secretive processes regarding Nitinol and even developed a new and unique Nitinol heat

treatment process.

        24.    Overall, Park was involved with 7 patents while at Cordis. Significantly, Park is

also listed as an inventor on two pending patent applications regarding a new stent for the

treatment of coronary and peripheral blockages located in bifurcated vessels and arteries: (1) US

2005/0288771 A1 and (2) US 2005/0131524 Al.

        25.    Pursuant to Paragraph. 1 . of the Agreement, plaintiffs . own all inventions,

patentable or not, developed by Park while at plaintiffs.


                     PARK'S PLANNED EMPLOYMENT BY STENTYS

       26.     In or about mid June 2008, Park tendered his resignation from Cordis. Park

eventually informed Cordis that he accepted employment with Stentys, a competitor of Cordis,

and would be working in Stentys' research and development department. Cordis immediately


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informed Park and Stentys that his intended employment with Stentys would violate the express

terms of the Agreement.

        27.     Stentys is currently developing a bifurcated stent for the treatment of coronary

heart disease that involves treating blockages located in bifurcated vessels and arteries. Stentys'

bifurcated coronary stent is currently pending a patent. Stentys contends that its bifurcated

coronary stent will provide the same advantages as the CYPHER® Stent because it will reduce

the re-stenosis rate.

        28.     Stentys' bifurcated coronary stent will compete directly with the CYPHER®

Stent and Cordis' bifurcated stent that is currently pending a patent. Presumably, Stentys is

developing other stents and related products that will compete with Cordis' other products.

        29.     Park has intimate knowledge of some of plaintiffs' most Confidential

Information. If Park is allowed to work at Stentys' in connection with any Conflicting Products,

it is inevitable that he will disclose plaintiffs' Confidential Information.

        30.     Plaintiffs and Stentys are direct competitors and if Stentys were to gain

knowledge of even some of the Confidential Information concerning the products intimately

known to Park, plaintiffs would be immediately, irreparably and severely harmed.           Money

damages would not adequately compensate plaintiffs for the losses and injuries they would

suffer, leaving plaintiffs with no adequate ---remedy at law.
                                         -~             '




        31.     For example, Park is intimately familiar with Confidential Information concerning

the CYPHER® Stent and Cordis' patent pending bifurcated stent, such as designs,

manufacturing techniques, testing methods and procedures, and material specifications. Park can

use and will use, consciously or unconsciously, this Confidential Information to improve

Stentys' bifurcated stent and/or other Conflicting Products. In addition, Park had access to




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Cordis' cost in manufacturing CYPHER® Stent, which Stentys can use to unfairly compete with

plaintiffs.

          32.     As another example, smce Park is intimately familiar with Cordis' testing

methods and procedures, Park can use that information to modify and re-design Stentys'

bifurcated coronary stent so that it could be used on vessels and arteries outside of the heart. If

so, such products would then compete with Cordis' peripheral stents.

          33.    In addition, Park has intimate knowledge of Cordis' pipeline products and the

designs of its current products. If Park is permitted to work for Stentys, then Stentys will be able

to immediately duplicate such products overnight at minimal costs and unfairly compete with

Cordis.

          34.    After plaintiffs informed Park and Stentys of its objections to Park's employment

with Stentys, the parties attempted to work out their differences. The parties, however, were

unsuccessful thereby necessitating the filing of this Verified Complaint and application for a

temporary restraining order. Upon information and belief, Park started to work for Stentys on or

about July 2, 2008 or will do so shortly.


                                              JURISDICTION

          35.    According to the New Jersey State Business Gateway Service Corporate and

Business Information Report, which is att~ched as Erlrlbit B, Stentys is registered to do business

in the State of New Jersey, and some of Stentys' employees, such as Hikmat Hojeibane,

currently live and work for Stentys in New Jersey. 1


1
  Mr. Hojeibane was a fonner Cordis employee. In January 2005, he was transferred to another J&J subsidiary,
Ethicon, Inc., and worked in an area unrelated to stents throughout his employment with Ethicon .. He left Ethicon
in February 2007. Mr. Hojeibane did not start working for Stentys until September 2007- which is greater than 18
months after the last time Mr. Hojeibane worked on stents for Cordis



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       36.     Stentys has purposefully, systematically and continuously directed contacts to and

conducted business inNew Jersey.

       37.     Stentys is subject to the jurisdiction of this Court.

       38.     In his capacity as Staff Product Development Engineer, Park worked in Cordis'

offices located in Warren, New Jersey. Park has resided and currently resides in Parsippany,

New Jersey. Park also consented to personal jurisdiction and venue to the Courts of New Jersey

pursuant to paragraph 16 of his Agreement.

       39.     Park has purposefully, systematically and continuously directed contacts to and

conducted business in New Jersey.

       40.     Park is subject to the jurisdiction of this Court.


                                          FIRST COUNT

       41.     Plaintiffs repeat the allegations contained in the foregoing paragraphs and

incorporate those allegations in this Count by reference

       42.     Park's intended and actual employment with Stentys will and does constitute a

breach of the Agreement because he would be employed by a Conflicting Organization within 18

months after termination of his employment with Cordis and would involve Park providing

services that may enhance the use or marketability of Conflicting Products by application of

plaintiffs' Confidential Information.     P~k's intended employment with Stentys also will

inevitably induce and require Park to breach his Agreement and common law duties with

plaintiffs because he would be joining an organization that is engaged in direct competition with

plaintiffs and Park's employment with Stentys would make it inevitable that he would disclose

Confidential Information that he learned while employed by Cordis.




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        43.    As a result of that breach, plaintiffs will suffer immediate, severe and irreparable

hann to its business, and other damages and injuries.


                                        SECOND COUNT

        44.    Plaintiffs repeat the allegations contained in the foregoing paragraphs and

incorporate those allegations in this Count by reference.

        45.    As an employee of Cordis, Park had a duty of loyalty that existed independent of

his Agreement to refrain from disclosing Confidential Information that he learned while

employed by Cordis.

        46.    If Park is allowed to work for Stentys, a direct competitor of plaintiffs, it is

inevitable that he will breach his duty by disclosing plaintiffs' Confidential Information.

        47.    As a result of the inevitable breach of Park's duty, plaintiffs will suffer

immediate, severe and irreparable hann to its business, and other damages and injuries.


                                         TIDRDCOUNT

        48.    Plaintiffs repeats the allegations contained in the foregoing paragraphs and

incorporate those allegations in this Count by reference

        49.    Stentys is aware that Park has entered into an Agreement with plaintiffs. Stentys

is also aware that Park possesses higPJy Confidential Information that .belongs to plaintiffs.

Stentys is aware that hiring Park would constitute a breach of the Agreement.

        50.    Despite that knowledge, Stentys has conspired with and tortiously induced Park to

breach both his Agreement and his duties to plaintiffs and, therefore, has tortiously and

maliciously interfered with plaintiffs' contractual relationship with Park.




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        51.    As a result of Stentys' actions, plaintiffs will suffer immediate, severe and

irreparable harm to its busil)ess, and other damages and injuries.


                                        FOURTH COUNT

        52.    Plaintiffs repeat the allegations contained m the foregoing paragraphs and

incorporate those allegations in this Count by reference.

        53.    By hiring Park, Stentys and Park have wrongfully contracted, combined,

conspired and agreed to: (1) engage in unfair competition; (2) breach common law obligations;

(3) tortiously interfere with the contractual relationships and prospective economic advantage of

plaintiffs; (4) wrongfully convert and misappropriate Confidential Information of plaintiffs; and

(5) unjustly enrich themselves at the expense of plaintiffs.

        54.    The acts of Stentys and Park constitute wrongful and malicious conduct

undertaken without legal justification and with the knowledge and intent that their actions will

cause substantial damage and injury to plaintiffs.

       55.     Unless Stentys and Park are immediately enjoined and restrained, plaintiffs will

suffer immediate and irreparable injury for which it has no adequate remedy at law or in money

damages, and other damages and injuries.

       WHEREFORE, plaintiffs demand judgment against defendants, jointly and severally:

       A.      Temporarily, interlocutorily and permanently enjoining Park from holding any

               employment position or engaging in any employment activity with Stentys,

               directly or indirectly, that in any way relates to or involves coronary or peripheral

               stents, including bifurcated stents, or any other position that would place him in a

               position of using or disclosing plaintiffs' Confidential Information, for a period of

               18 months from the date hereof;


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B.    Temporarily, interlocutorily and permanently enjoining and restraining Stentys

      and its officers, agents and employees from causing or permitting Park to hold

      any employment position or engage in any employment activity with Stentys,

      directly or indirectly, that in any way relates to or involves coronary or peripheral

      stents, including bifurcated stents, or any other position that would place him in a

      position of using or disclosing plaintiffs' Confidential Information, for a period of

      18 months from the date hereof;

C.    Temporarily, interlocutorily and permanently enjoining and restraining Park from

      disclosing, using, disseminating, lecturing upon or publishing any of plaintiffs'

      Confidential Information as defined in Park's Agreement;

D.    Ordering defendants to turn over and return to plaintiffs all of plaintiffs'

      Confidential Information that defendants have removed, copied, taken, used,

      disseminated or reviewed, or otherwise have in their possession, custody or

      control;

E.    Temporarily, interlocutorily and permanently enjoining Park from soliciting or

      hiring on his behalf or on behalf of anyone else, including but not limited to

      Stentys, any employee of plaintiffs for a period of 12 months from the date

      hereof;

F.    Temporarily, interlocutorily and permanently enjoining and restraining Stentys

      from (1) causing or permitting Park to disclose or use and (2) receiving, using and

      disclosing, plaintiffs' Confidential Information as defined by Park's Agreement;

G.    Temporarily, interlocutorily and permanently enjoining and restraining Park from

      otherwise violating any of the terms of the Agreement;




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       H.     Temporarily, interlocutorily and permanently enjoining and restraining Stentys

              from otherwise causing or permitting Park to violate any of terms of his

              Agreement or his common law obligations to plaintiffs;

       I.     Awarding compensatory damages to plaintiffs;

       J.     Awarding punitive damage to plaintiffs;

       K.     Awarding cost and attorneys' fees to plaintiffs;

       L.     Awarding such other and further relief as the Court deems just and equitable.


                                            RIKER, DANZIG, SCHERER, HYLAND
                                             & PERRETTI LLP

                                            Attorneys for Plaintiffs
                                            Johnson & 7 / : d c o m  c d
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                                                                            s


                                            By:~
                                                     ~-/.1
                                              '                  Glenn. A. Clark


Dated: July 3, 2008




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                                 RULE 4:5-1 CERTIFICATION

       I certify that to the best of my present knowledge, the matter in controversy is not the

subject of any other action pending in any court or of a pending arbitration proceeding, and no

such other action or arbitration proceeding is presently contemplated by plaintiffs. I am not

presently aware of any non-parties who should be joined in this action pursuant to Rule 4:28 or

who is subject to joinder pursuant to Rule 4:29-l(b) because of potential liability to any party on

the basis of the same transactional facts.




                                                 Glenn A. Clark, Esq.

Dated: July 3, 2008




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                                   VERIFXING CERTIFICATION

        I, Kathleen A. Vigue, of full age, certify as follows:

        1. ·       I am the Vice President, Device Developmen~ of Cordis Corporation.        1have a

Bachelors of Science in Chemical Engineering and an MBA in Operations and Technology. I

have. approximately 25 years of experience in medical de:vice development, including extensive

· experience with ~he products referred to in the Verified Complaint.

        2.         I have read the Verified Complaint to which this Verifying Certification is
                     .                                               .
attached and the factual allegation.sa based on my personal knowledge, are true unless e~ressly

stated a.s based upon infonnation and belief.

        3.         I certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements are willfully false, I am subject to punishment.




Dated: July    b    2008




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                                          ·:·




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                          CERTIFICATION PURSUANT TO RULE 1:4-4(c)

            I, Khaled J. Klele, Esq., of full age, certify as follows:

            1.      I am an attorney-at-law in the State of New Jersey and an associate of the law

firm of Riker, Danzig, Scherer, Hyland & Perretti LLP, attorneys for plaintiffs in this matter.

            2.      Attached hereto is the Verifying Certification of Kathleen A. Vigue, with a

facsimile of her original signature. I certify that Ms. Vigue has acknowledged the genuineness

of her signature and that the document or a copy with original signature affixed will be filed if

requested by the Court or a party.

            3.      I certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements are willfully false, I am su · ct t
                                                    ~/




Dated: July 3, 2008
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                                                                                                                         a~~company
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    . EMPLOYEE SECRECY. NON..COMPETITION
      AND NO:N-SOLICITATION AGREEMENT

      Name of Employee:

      Residence. Address:
                                                                                                             ob'B   l/
      As used in this Agreement:

          the COMPANY means CORDIS C.ORPORATION and JOHNSON..& JOHNSON and any of their successors or assigns, purchasers,
     ncquirers, and any of their existing and future subsidiaries, divisions or affiliates, including any suclt subsidiary, division or affiliate of
     Johnson & Johnson to which I may b~ transferred or by which. I may b.e. employed in the fu~ure. Affiliates of the COMPANY are any
     corporation, entity or organi:zation at least SO% owned by the COMPANY, by Johnson & Johnson or by any subsidiary of Johnson &
     Johnso·n.                                                                                        ·

                  ! means the employee whose nalDC appears above, also referred to by the use of first perso!l pronouns, such as me and my.
                   INVENTIONS. mean discov.e,-ies, imprQvements and/or ideas, whether patc;:n.table or not.

          CONFIDENTIAL INFORMATION means information disclos~;d to me .or known by :me: a.s a· result of my employment by the
     COMPANY, not geni=I:~lly known to .the trac;le or industry in which tl!e COMPANY is en(!aged, ~bout products, processes, technologies,
     machjnes, customers, clients, employees, services and strategies of ·the COMPANY, including, but not limited to, h1-ventions, research,
     development, manufacturing, purchasing, finance, computer software, computer h,ardwarc. automated systems, engineering, marketing,
     merchandising, selling, S!J.Ics. volumes or stratl!gies, number -or location of sales representatives, names .or significance of the COMPANY's
     customer:> or cli.entll or their employees or representatives, pteferences, needs or requirements·; purchasing ·histories, or oth.er customer or
     client-specific. Jnformation.

          CON.FLJCTII!f(;._PRODUCT means any product, process, technolog~; -machine, invention or service of any person or organization
     other th~Pt the CPMPANY in cxisten.ee or under development which resembles or competes with a product, process, techmilogy, machine,
     invention -or service u_p.on Which I shall have. worked or about which I become knowledg_eable as a rc~ult of employment with the
     COMPANY and whose·usc or marketability could be enha.n.ced by application to it of CONFIDENTIAL INFORMATION which I shall
     have had acce_s$ to dtu;jrig my employment.                                             ·

          CONFLiCTING. ORGANlZATION means any person or organization which is engaged -in or about to become engaged in research
     on, consulting regarding, or development, production, marketing, or selling of a CONFLICTING P~ODUCT.           ·

             I recognize that the business in which the COMPANY is engaged is extremely competitive and that the COMPANY will be
    providing me with CONFIDENTIAL INFORMATION both at the commencement of my employment and thereafter and may also be
    providing me with the op_pottunity to contribute to the- creation of CONFIDENTIAL INFORMATION, which will assist both the
    COMPANY and me in competing effectively. I .recognize that CONFIDENTIAL INFORMATION is significant to the COMPANY'S
    competitive position and that the COMPAl'f.Y therefore. :expects me to ,keep it secret and also expects me not to compete· with the
    COMPANY during my employment and for a period oftime thereafter.                          ·       -              ·   ·           ·
                                                                                                         .                           '                   ·.
             Accordingly, in consideration of the receipt of CONFIDENTIAL INFORMATION,. my employment or the continuation of my
    employment by the COMPANY, and oUler benefits being provided .to me in connection vd.Ul this Agreement, including those provided
    pUrsuant to paragraph 9:                                · ,      '                                     .              . ·:· .

    1.  I agree to disclose promptly to the COMPANY all INVENTIONS conceived or made by "me whether or ~ot during my hours of
        empioyment or ·with the usc of the COMPANY's facilities, materials or personnel, either solely or jointly with another or others
        durin~ my employment with· "the COMPANY, and related to .the actual or anticipated business or activi~ies ~f the COMPANY, or
        related to Its actuaJ or anticipated research and dev.elopmcnt or suggested. by or resulting from any task ~l!igned to me or work
        performed by me- for, or oo bc)lalf of, the COMPANY. I assign ·and agree to -assiga my entire right, title and interest therein to the
        COMPANY. l_will not assert any rights under or to any INVENTIONS as having. been, made or al)quir.ed by me prior to my being
        employed by the COMPANY unless such INVENTIONS are identified on a sheet ~ttacbcd hereto DJJd sisne.d by me and the.
        COMPANY as of the date of this Agreement.
                                .                                                                                      .
    2. I recognize that all works, including, but not limited to reports, computer programs, drawings, documentation and l'ublications, which
        I p~pare within the scope of my employment with the COMPANY, shal.l be works made for hire and that the worldwide copyrights
       "therein shall be the sole and exclus.ive property of the COMPANY. In the event that any said copyrightable work or portion thereof
        shall not b.e legally qualified as a work made for hire, or shall subsequently be so held to not be a ·~ork made for hire, I agree to




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       assign, and do hereby so assign to the COMPANY, all right, title and interest in and to said work or portion thereof. I will promptly
       and fully disclose all such works to the COMPANY.


 3.    I shall, whenever requested to do so by the COMPANY, execute any applications, assignments or other instruments which the
       COMPANY shall consider 11ecessary to apply for and obtain Letters Patent, trademark and/or copyright rcgi$trations in the United
       States, or any foreign country, or to protect otherwise the COMPANY's interests. These obligations shall continue beyond the
       termination of my employment with the COMPANY with respect to INVENTIONS, trademarks or copyrightable works conceived,
       authored or made by ml: during my period of employment, and shall be binding upon my executors, administrators, or other legal
       representatives.

 4.    I shall not disclose to the COMPANY or induce the COMPANY to..use any secret, proprietary or confidential information or material
       belonging to others, including my fanner employers, if any. I am aware of no agreement, contract, non-compete. covenant, non-
       disclosure/secrecy agreement or similar restriction that would in any way restrict, limit or prohibit my employment by the COMPANY
       that I have not disclosed and provided to the COMPANY.

 s.    I recognize that CONFIDENTIAL INFORMATION is of great value to the COMPANY, that the COMPANY bas legitimate business
       interests in. protecting its CONFIDENTIAL INFORMATION, and that the disclosure to anyone not authorized to receive such
       information, including a CONFLICTING ORGAN1ZA TION, will cause immediate irreparable injury to the COMPANY. Unless I first
       secure the COMPANY's written consent, I will not disclose, use, disseminate, lecture upon or publish CONFIDENTIAL
       INFORMATION. I understand and agree that my obligations not to disclose, use, disseminate, lecture upon or publish
       CONFIDENTIAL INFORMATION shall continue after termination of my employment for any reason.

 6.   During my employment with the COMPANY and for a period of eighteen (18) months after termination of my employment with the
      COMPANY for any reason, I will not render services, directly or indirectly, to any CONFLICTING ORGANIZATION in the· United
      States, or in any foreign country or territory in. which the services I may provide could enhance the use or marketability of a
      CONFLICTING PRODUCT by application of CONFIDENTIAL INFORMATION which I shall have had access to during my
      employment, except ·that I may accept employment with a CONFLICTING ORGANIZATION whose business is diversified and which
      is, as to that part of its business in which I accept employment, not a CONFLICTING ORGANIZATION, provided that the
      COMPANY. prior to my accepting such employment, shall receive separate written assurances satisfactory to the COMPANY from
      such CONFLICTING ORGANIZATION and from me, that I will not render services directly or indirectly, for an 18-month period, in
      connection with any CONFLICTING PRODUCT. I also agree that during my employment with the COMPANY and for a period of 18
      months thereafter, I will not render services to any other organization or person in a position in which I could use CONFIDENTIAL
      INFORMATION to the detriment of the COMPANY.

7.    I recognize that the "COMPANY's relations with its. accounts, customers and clients_rcpresents an important business asset that results
      from the COMPANY's significant investment of its .time and resources. I further recognize that by virtue of my employment by the
      COMPANY, I have gained or may gain relationships with the accounts, customers and clients of the COMPANY, and because of such
      relationships, I could cause the COMPANY great loss, damage, and immediate irreparable harm, if, during my employment by the
      COMPANY or subsequent to the termi-nation of such employment for any reason, I should for myself or on behalf of any other person,
      entity, firm or corporation, sell, offer for sale, or solicit or assist in the sale of a product o.r senice that could compete with a product
      or service being sold or developed by the COMPANY. l therefore ~gree that during my employment with the COMPANY and for
      eighteen ( 18) months after termination of such employment for any reason, I will no.t solicit any business from, sell to, or render any
      service to, or, directly or indirectly, help others to so.lic.it business from or render service or sell to, any of the accounts, customers or
      clients with whom I have had contact during the l.ast twelve. (12) months of my employment with the COMPANY, for any purpose
      related to the sale of any such product or service. l also agree that for a period of twelve (12) months after terminatron of
      employment with tho COMPANY for any reason. I will not solicit or hire on my own behalf, or on behalf of others, any COMPANY
      employee.

8.    To enable the COMPANY to- monitor my compliance with the obligations imposed by this Agreement, I agree to inform the
      COMPANY, at the time I give notice of my termination of employment. of the identity of my new employer and of iny job title and
      responsibilities, and wiU continue to so inform the C_OI\{PANY, in writing, any time I change employment during the eighteen (18)
      months following termination e>f my employment with the COMPANY for any reason.                                          ·

9.    If I am unable to .obtain. employment consistent with my training and education solely because of a prohibition of paragraph 6 or 7 of
      this Agreement, or if 1 am able to obtain only a position in which my Gross Monthly Pay is less than what I last received from the
      COMPANY as Gross Monthly Pay, then any prohibition of those paragraphs that caused me to be unable to obtain such employment
      (or that is responsible for the above-referenced differential in pay), shall b.ind me only as long as the COMPANY shall make monthly
      payment to me equal to the lesser of (a) the amount last received from the COMPANY as Gross Monthly Pay, or (b) the difference
      between my last Gross Mont,hly Pay at tb..e COMPANY and my Gross Monthly Pay in any subsequent employment. Gross Monthly
      Pay shall consist of the sum of the following app.licable · amounts, prorated to a monthly baSis: my annual base pay, annual
      commissions, year-end cash bonus, and the monetary value of my year-end stock award (but not stock option grants, any other extra
      compensation or benefits.) .. My Gross Monthly Pay at the COMPANY will be based on the amounts actually received by me during the
      last twelve calendar months I was employed by the COMPANY. My Gross Monthly Pay in any subsequent employment will be based
      on a projection of the amounts to be received by me during the first twelve months in that employment.

10. In order to qualify for the payments provided for in paragraph 9 above, I understand that I must, for each month that I claim payment
    is.duc, represent to the Vice President of Human Resources of the COMPANY, in writing within fifteen (15) days following the end

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     of --l.~at calendar month, that although I diligently sought employment consistent with my training and education, I was unable to
    :-obtain It, or was unable to attain a position 'in which my Gross Monthly Pay equaled what I last received from the COMPANY as
     Gross Monthly Pay, as the case may be~ sol-ely becaus1= of a prohibition of paragraph 6 or 7 of this Agreement. I must also promptly
     submit such further information as the- COMPANY may request. to enable it to verify the accuracy of my representation. I understand
     that the COMPANY shall, at. its option, be relieved of making a monthly payment to me for any month with respect to which I have
     failed to comply with -a r.equirement of this paragraph 10.

 11. I further understand that if, at any time within the period of prohibition specified In paragraph 6 or 7, the COMPANY gives me a
     written release from the prohibition of paragraph 6 or 7 that has been the sole cause of my inability to obtain .employment consistent
     with my training and education or my inability to obtain a position in which my Gross Monthly Pay equals what I last received from
     the COMPANY as Gross Monthly Pay, as the case may be, then, the COMPANY will no longer be obligated to make the payments
     that had been req.uired due to those prohibitions.

 12. Upon termination of my employment with the COMPANY for any reason, I shall tum over to a designated individual employed by the
     COMPANY, all property then in -my possession or custody and belonging to the COMPANY, including IUIY computer equipment. I
     shall not retain any copies of correspondence, memoranda, reports, notebooks, drawings, photographs, or other documents in any form
     whatsoev.er (including information contained In computer memory or on any computer disk) relating in any way to the affairs of the
     COMPANY and which were entrusted to me or obtained by me at any time during my employment with the COMPANY.

 13. I understand and acknowledge that if I violate this Agreement or am about to violate this Agreement by disclosing or using
     infonnation prohibited by paragraph S above, accepting employment or providing services prohibited by paragraph 6 or 7 above, or
     failing to turn over property as required by paragraph 12 above, the COMPANY shall have the right, and be entitled to, in addition to
     any other remedies it may have, injunctive relief; in other words, I understand and acknowledge that the COMPANY can bar me from
     disclosing or using such information. bar me from accepting such employment or rendering such service_s for the periods specified in
     paragraphs 6 and 7 above, .and require that I tum ov~ such _property.

14. I hereby consent and agree to assignment by the COMPANY of this Agreement and all rights and obligations hereunder including, but
    not limited to, an assign~ent in connection with llny merger, sale, transfer or acquisition by the COMPANY or relating to all or part
    of its assets, divisions and/or affiliates.

15. Nothing herein shaH limit or reduce my common law duties to the COMPANY, including but not limited to my duty of loyalty.

16. This Agreement shall he interpreted according to the laws. of the State of New Jersey without regard to the conflict of law rules
    thereof. I agree that any action relating to or arising out of this Agreement may be brought in the courts of the State of New Jersey
    or, if subject matter jurisdiction exis_ts, in the Uniti:d States District Court for the District of New Jersey. I consent to personal
    jurisdiction and vem,1e in both such courts and to service of process by United States Mail or -express courier service in any such
    action.

I 7. In the event that any provision of this Agreement is invalidated or unenforceable under applicable law, that sha11 not affect the
     validity or enfor.ce.abiljty of the remaining provisions. To the extent that any provision of this Agreement is unenforceable because it
     is overbroad, that provision shall be limited .to the extent required by applicable law and enforced as so limited.

18. The following applies only to a California, Minnesota or North Carolina employee: Notification is hereby given that paragraph 1
    does not apply to an invention to the extent that no equipment, supplies, facili.ty, or trade secret information of the COMPANY was
    used and whh.;h Wll~ do::vc:l.opod ontirely by· me on my. own thne, and (a) which does not relate (I) to the business of the COMPANY or
    (i:i} to the CO-MPANY's actual or demonstrably anticipated research or development, or (b) whicll does not result from any work
    performed by me for the COMPANY.

19. The following aoplies only to a State of Washington employee: Notification is hereby given that paragraph I does not apply to an
    invention for which no equipment, supplies, facility, :Pr trade secret information of -(be COMPANY was used and ·which was
    developed entirely on my own time, unless (a) the invention relates (I) directly to the business of the COMPANY or (ii) to the
    COMPANY's actual or demonstrably anticipated research or development, or (b) the invention fesults from any work performed by
    me for the COMPANY.

20. Nothing contained in this Agreement shall be deemed to confer o~ me any rights with respect to the duration of my employment with
    the COMPANY. I UNDERSTAND AND AGREE THAT MY EMPLOYMENT RELATIONSHIP WITH THE COMPANY IS
    TERMINABLE AT WILL BY EITHER THE COMPANY OR ME, WITH OR WITHOUT CAUSE, EXCEPT THAT IF I INITIATE THE
    TERMINATION, THERE SHALL BE, AT THE COMPANY'S OPTIO.N, A PERIOD OF UP TO FOURTEEN (14} DAYS AFTER I
    GIVE WRITIEN NOTICE OF TERMINATION BEFORE THE TERMINATION-BECOMES EFFECTIVE. If the COMPANY elects to
    continue my employment during the notice period, it shall advise me of that fact, and of t{le duration of the notice period. During any
    notice period, I will provide such transitional services as the COMPANY may request. The COMPANY will be obligated to continue
    my pay during the notice period, and my duty of loyalty to the COMPANY shall continue through such period.

I ACKNOWLEDGE HAVING READ, EXECUTED AND RECEIVED A COPY OF THIS AGREEMENT, and agree that wi~ respect to the
subject matter hereof it is my entire agreement with the COMPANY, supersedi~g any previous .oral or written communications,
representations, understandings, or agreements with the COMPANY or any of its offic1als or representatives.


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                      New Jersey State Business Gateway Service
                      Corporate and Business Information Reporting



   Business Entity           Sta~us      Report

     Printing Instructions: Open your Browser's Page Setup menu and set your page margins to 0.25". Use your
     Browser's Print option to print the report as seen on screen.
     Saving Instructions: Save this file to your hard drive for later viewing by using the Browser's "Save As" function.
     All available information Is displayed.


            Status Report For: STENTYS INC.

                   Business Name: STENTYS INC.                                               Report Date: 06/30/2008
             Business ID Number: 0100992759                             Transaction Number: Sequence: 1329580: 1


                           Business Type: FOREIGN PROFIT CORPORATION
                                   Status: ACTIVE


                              Filing Date: 06/02/2008                             Home Jurisdiction: DE
                      Status Change Date:                                                Stock Amount: 0
             DOR Suspension Start Date:                                   DOR Suspension End Date:
              Tax suspension start Date:                                   Tax Suspension End Date:
                                    Annual Report Month: 6
                                Last Annual Report Filed:
                       For Last Annual Report Paid Year:


                                             Incorporator:
                                                    Agent: CORPORATION SERVICE COMPANY
                                            Agent Address: 830 BEAR TAVERN RD
                                                             WEST TRENTON, Nl 08628
                                   Office Address   St~tu~: Dellvera~le
                                  Main Business Address:


                              Principal Business Address:




             Associated Names
              Name:                                                  Type Description:




             Officers/Directors/Members: Not Available



https://accessnet.state.nj .us/BEStatRpt.asp                                                                       6/30/2008
